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       District 9

    Population Statistics                      Ethnicity                    Voter Statistics

City of Buffalo                 19,093   White                  78,869   Registered Voters     53,297
Town of Cheektowaga             19,736   % White               94.41%
Town of West Seneca             44,711   Black                   2,039   Democrats             28,492
                                         % Black                2.44%    Republicans           12,000
Total Population                83,540   American Indian           257   Conservatives          1,252
Deviation                           -9   % American Indian      0.31%    Working Families         300
% Deviation                    0.00011   Asian                     829   Independence           2,595
                                         % Asian                0.99%    Green                     77
Age 18+                         66,789                                   Other                    558
                                         Hispanic Origin         2,279   Blank                  8,023
                                         % Hispanic Origin      2.73%
                                                                         Male                  24,461
                                         Black 18+               1,325   Female                28,836
                                         % Black 18+            1.98%
                                         Hispanic Origin 18+     1,299   Age 18 - 24            3,824
                                         % Hispanic 18+         1.94%    Age 25 - 34            7,791
                                                                         Age 35 - 40            4,631
                                                                         Age 41 - 45            4,699
                                                                         Age 46 - 54            9,448
                                                                         Age 55 - 61            6,735
                                                                         Age 62+               16,169

                                                                         Federal Voters           70
                                                                         Military Voters          84
                                                                         Disabled                704
                                                                         Nursing Home            105

                                                                         Voted 2007 Election   22,265
                                                                         Voted 2009 Election   14,210
